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ARTICLE I
DISPOSITION OF TRUST ASSETS

3.1 Distributions for KDID Spillway Work Costs. The Trustee shall distribute to or for
the benefit of Grace (or the State, under the limited conditions described in Section 3.1.2(b) [Early
Distribution for Emergency], 3.1.3 [Nonperformance Determination], or Section 3.1.4 [Cessation
of Grace}) such amounts, at such times, as Grace or the State may incur a8 KDID Spillway Work
Costs in accordance with the standards prescribed in the Settlement Agreement (which the Trustee
shall have no duty to verify or confirm). Distributions shall be made only in accordance. with
Statements provided to the Trustee pursuant to the provisions of this Article TIL

3.1.1 General Intent. As provided in the Settlement Agreement, to the greatest
extent practicable, the Parties intend that no distributions will be made by the Trustee until January
1, 2126. Beginning January 1, 2126, distributions for KDID Spillway Work Costs may be made
from the Trust in accordance with Section 3.2.

3.1.2. Early Distributions. Notwithstanding the Parties’ general intent as described
in Section 3.1.1, if at any time after January |; 2072 (a) a written, determination by the DNRC
Director or its delegee’ that describes a repair or: ‘replacement that is KDID Spillway Work
reasonably necessary. to perform before 2126, with the engineering basis for such determination
is delivered tothe Trustee purswant to. Section 5(e){i) of the Settlement Agreement or: (b) the
Trustee receives written instruction fron the State for the payment of costs to respond to or address
an emergency at the KDID Spillway, consistent with. the standards and procedures of the Dam
Safety-Act, MCA 85-15-215, or any supérseding law pursuant to Section .5(e)(ii) of the Settlement
Agreement (which the Trustee. shall. have no-duty to verify or confirm), distributions for such
KDID. Spillway Work Costs shall be made by the Trustee in accordance with Section 3.2.

3.1.3 KDID Spillway Work Nonperformance Determination. [fat any time after
December 31, 2025, DNRC cértifies' in a writing delivered to Grace and the Trustee, that all
requirements have been met for a Nonperformance Determination, including providing Grace an
opportunity to cure such nonperformance in accordance with the Settlement Agreement, the State
may assume all rights and authorities of Grace under this Agreement with respect to such work
described in the Nonperformance Determination, including the right to request and obtain
distributions in accordance with 3.2.

3.14 Cessation of Grace. Pursuant to Section. 6(c) of the Settlement Agreement,
upon notice from the State to the Trustee and Grace, accompanied by documentation of the basis
for the notice, if Grace (or any merged or successor entity that assumes. Grace’s obligations to.the
State under the Settlement Agreement) ceases to exist or fails to continue to operate as a going
concern, all rights and authorities of Grace under this Agreement shall automatically and without
further action cease, and all Trust Assets shall inure completely to the beriefit of the State only
without any prerequisite Nonperformance Determination referenced in Section 3.1.3; provided,
however, Grace shall have thirty (30) days after such notice to object to any assertion of Grace's
cessation in a writing delivered to the Trustee and the State.

3.2 Process for Issuance of Distributions. The Trustee shall make distributions for
KDID Spillway Work Costs under Section 3.1 to Grace or the State (under the conditions described

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in Section 3.1.3 or Section 3.1.4, which governs the State’s contingent rights to distribution), as
the case may be, in accordance with the following provisions.

3.2.1 Distribution Request. The Beneficiary secking the distribution shall submit
to the Trustee and the other Beneficiary:

(a) A statement setting forth the exact amount of the distribution (the
“Statement”), upon which the Trustee may conclusively rely;

(b) A written certification that the distribution is for KDID Spillway
Work Costs within the restricted purposes of the Trust and the Settlement Agreement;

(c) For completed work that has already been paid for by the
Beneficiary secking distribution, the invoices and receipts sufficient to demonstrate that work (or
the relevant portion thereof) has been performed and payment has been. made (which the Trustce
shall have no duty to review);

(d) For distributions directly to a contractor or vendor (without advance
payment by the Beneficiary secking distribution), a copy of the contract for the performance of the
work accompanied by the relevant invoice(s) for payment due to the specified contractor or vendor
(which the Trustee shall have no duty to review) and

(ec) Trustee shall have no responsibility to confirm receipt of any or all
required supporting documentation for each distribution. or the completeness of any such
supporting documentation provided with each distribution request other than to confirm a
distribution request has been received from an authorized Beneficiary.

. 3.2.2 Distribution Payment. Within three (3) business days after receipt of a
distribution request submitted in accordance with Section 3.2.1, the Trustee shall issue such
distribution in accordance with the Statement.

3.3 Terminating Distributions. Upon the conditions, and to the extent, provided in this
Section 3.3, the remaining Trust Assets shall be distributed in accordance with this Section 3.3;
and. the. rat shall terminate.

3.3.1 By Agreement. At any time after the year 2072 but prior to the full
termination of the Trust under Section 3.3. 2 or Section 3.3.3, the Beneficiaries may agree,
considering all of the relevant circumstances in existence at the time — including the value of the
Trust versus the cost of a replacement KDID Spillway:— that the Trust should be used for a
reasonable and prudent purpose (other than replacemént or significant repair of the KDID Spillway)
related to the KDID Spillway or the KDID. In that event, the Trustee shall effectuate such
terminating distributions as the Beneficiaries jointly direct in writing.

3.3.2 Upon Expiration of Term. Consistent with the terms of the Settlement
Apreement, the Trust shall terminate on the date that is 110 years from the date of this Agreement.
The Trustee shall not unduly prolong the duration of the Trust and shall, at the expiration of the
period described in the immediately preceding sentence, endeavor to resolve, settle, or otherwise
dispose of all claims against the Trust pursuant to written instructions from the Beneficiaries, and

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then distribute the remaining Trust Assets to Grace to be used solely for purposes related to the
KDID, subjéct to the prior payment of the Trustee’s fees, expenses and indemnities accrued through
the date of termination.

3.3.3 Upon Certification of a Condition of Early Termination. Consistent with the
terms of the Settlement Agreement, the Trust shall terminate if either the State or Grace certifies in
writing to the Trustee and the other Beneficiary, that. a Condition of Early Termination has been
met pursuant to Section 6(a){iii) or Section 6(d)@) and such other Beneficiary does not within thirty
(30) days after actual receipt of such certification object to the termination of the Trust in writing
to the Trustee and the Beneficiary making such certification. In accordance with such certification,
in the absence of objection from the other Beneficiary, the Trustee shall effect terminating
distributions of the remaining Trust Assets to Grace, subject to the prior payment of any outstanding
Trustee’s fees, expenses and indemmities acerued through the date of termination.

ARTICLE IV
TRUSTEESHIP

4. Appointment. PNC Bank, National Association, not in its individual capacity, but.
in its representative capacity as Trustee, is hereby appointed to serve as the Trustee to. administer
the Trust in accordance with the terms of this Agreement, and the Tristee hereby accepts. such
appointment and agrecs to. serve im such representative capacity, effective upon the date of this:
Agreement,

42 [Reserved]

4.3. General Authority and Obligations. The Beneficiaries intend that the Trustee’s
powers be exercisable solely in a manner that is.consistent with, arid in furtherance of, the purposes
of the Trust set-forth in this Agreement, corisistent with Settlement Agreement, and not otherwise.
The Trustee undertakes to-perform such duties; and only such duties, as are specifically set forth
in this Agreement, No implied duties, covenants or obligations shall be read into this Agreement.
The Trustee shall have the authority to bind the Trust, and any successor Trustee, or successor or
assign of the. Trust, but shall for all purposes hereunder be acting in its representative capacity as
Trustee and not individually. The Trustee shall have no obligations to perform any activities for
which the Trust lacks sufficient-funds, The Trast and the Trustce shall not and are not authorized
to engage in any trade or business with respect to the Trust Assets or any proceeds therefrom.

44 Powers. The Trustee shall have the following powers in administering the Trust.

44,1 Pennsylvania Law. Except as athérwise provided in this trust agreement, the
Trustee shall have all powers granted to trustees under 20 Pa.C S.§ 7780.5 and 20 Pa. C.S.$'7780.6..

4.4.2 Additional Powers, Without limiting the Trustce’s powers under 4.4.1 inany
manner, the Trustee is further authorized to perform any and all acts necessary to accomplish the
purposes of the Trust and facilitate the Parties’ compliance. with. the Settlement Agreement,
including the execution (including on behalf of the Trust) of agreements, instruments and other
documents necessary to implement this Agreement; the Settlement Agreement, or any order of the
Court or as may be necessary and proper to carry out the provisions of this Agreement, and, to the

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extent directed by the Beneficiaries in writing, the Settlement Agreement. Additionally, the Trustee
may, among other things, invest the Trust Assets as provided in this Agreement and file documents
in Court on behalf of itself and the Trust.

4.4.3 Limitations.on the Trustee’s Authority. The Trust and the Trustee shall not
and are not authorized to engage in any trade-or business with respect to the Trust Assets or any
procceds therefrom. Without limiting the Trustee’s right to payment of its fees, expenses and
indemnities hereunder, the Trustee shall not make distributions for purposes other than as expressly
set forth in Article TIl of this Agreement. Notwithstanding anything to the contrary in this.
Agreement, the Settlenient Agreement, 20 Pa. C:S.8 7780.5; 20 Pa. C.S.§ 7780.6 or any other law,
the Trustee shall not have the power to resolve any dispute between or among the Beneficiaries, the
Parties and/or < any-other Person regarding the. interpretation, application or enforcement of this
Agreement or the Settlement Agreement and/or the administration of the Trust, including through
mediation, arbitration or other alternative dispute resolution procedures.

4.5 Compensation, The Trustee shall be entitled to receive compensation from Grace
for its services under.this Agreement in accordance with the Schedule of Account Fees, a copy of
which the Trustee delivered to the Beneficiaries with this Agreement. Additionally, brokerage fees
and.commissions may be charged to.the Trust Account in connection with certain securities trades.
executed by the Trustee and subadvisors in accordance with this Agreement. In consideration for
récéiving commissions from the Trust Account, brokerage firms may provide Trustee with
research, products and other services which may be used to assist Trustee. in providing investment
advice the Beneficiaries and other clients. Grace authorizes the Trustee to debit the Trust Account
(or such other PNC Bank:--account. owned. by. Grace as Grace may request) for the Trustee’s.
compensation in accordance with thé Schedule of Account Fees then in effect and all of the other
costs and expenses described above. Within forty-five (45) days after receipt by Grace of a
Statement from the Trustee setting forth (a) the amount of any compensation, fees or expenses due
to the Trustee, or (b) any amount debited from the Trust Account during the Statement period,
Grace shall transfer funds in the amount of such debit, compensations fees or expenses to the Trust
to be added to and included as part of the Trust Assets in order to reimburse the Trust in full for
any amounts debited fromthe Trust.Account by the Trustee pursuant to this Section 4.5, Section
4.6, Section 4.7 or Article VI. Within one (1) day of the expiration of such forty-five (45) day
period, Grace shall notify. the State if Grace does not transfer such additional funds to the Trust in
accordance with the immediately preceding sentence.

4.6 Limitation on Liability of Trustee.

The following provisions shall govern the Trustee’s rights, powers, obligations and duti¢s
under this Agreement, notwithstanding anything herein to the contrary:

(a) Absent actual fraud, bad faith, willful misconduct, gross negligence

or a material breach of its obligations under this Agreement as established by a final judgement of .
the Court no longer subject to appeal: (i) the Trustee shall incur no liability for any action taken or
omitted to be taken in accordance with any instruction, direction or request of a Beneficiary that
‘ig not inconsistent with the terms of this Agreement, including with regard to distributions under
Article TH; and (ii) the Trustee shall not be liable for any loss to the Trust or any claim of inequality,
partiality or unreasonableness resulting from any action taken in accordance with such direction,

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‘The Trustee shall have no duty or obligation-to review or confirm whether any action taken by it
pursuant to any such instrtctions, directions or requests complies with the terms of this Agreement
(unless such instruction, direction or request on its face is not consistent with the terms of this
Agreement), the Scitlement Agreement or any other agreement, order or instrument. The Trustee
shall have no duty. to prov ide-advice to, or communicate with or warn or apprise, any. Beneficiary
concerning imstancés in which the Trustee would or might have exercised the Trustee’s own.
discretion in a. manner different from the manner directed by a Beneficiary.

(b) No provision of this Agreement, the Settlement Agreement, or any:
Court order shall require the Trustee to expend or risk its own personal funds or otherwise incur
any personal financial liability in the performance of any of its duties or the exercise of any of its:
authorities as Trustee hereunder. Notwithstanding the foregoing, the Trustee shall satisfy from ifs
own furids arly liability: imposed by a court of competent jurisdiction on account of Trustee’s, actual
fraud, bad faith, willful misconduct, gross negligence or material breach of its obligations under
this Agreement.

(c) The Trustee shall not be deemed to have knowledge of any event or
information held by or imputed to any Person (including, an affiliate, or other line of business or
division of the Trustee) other than itself in its capacity as Trustee. The Trustee shall nat be deemed’
to have notice or knowledge of any cvent or: information, or be required to act upon any event or
inforniation (including the sending of any notice), unless a Responsible Officer of the Trustee
receives written notice thereof and such notice-references the fact or event. “Responsible Officer”
means.any officer of the Trustee with direct responsibility for the administration of this Agreement.
The availability or delivery (including pursuant to this Agreement) of reports.or other documents
(including news or other publicly available reports or documents) to the Trustee shall not constitute
actual or constructive knowledge or notice of information contained in or determinable from those:
reports or documents, except for such reports or documents that this Agreement expressly requires
the Trustee to ‘review.

(d) Any Person (i) into which the Trustee may be merged or
consolidated, (ii) which may result from any merger, conversion, or consolidation to which the:
Trustee shall.be a party or (ili) which may succeed to all or substantially all-of the corporate trust
business of the Trustee shall’ be the successor ofthe Trustee hereunder, without the execution or
filing of any instrument or any further act on the part of any of the partics.. For purposes of this
Agreemenit, “Person” means an individual, corporation, company, partnership, association, joint
stock’ company, statutory or common, law trust, unincorporated organization, joint venture,
governmental authority, limited liability company, limited lability partnership or other-entity.

(ce) The Trustee may. act directly or through its agents, attorneys,
custodians, servicers, managers, nominces or other skilled professionals, and the Trustee shall not
‘be held responsible or liable for, or have any duty to supervise, any action, inaction, misconduct,
or negligence of any such Persons selected-by the Trustee with due care. Any expenses incurred
by the Trustee in acting through agents, attorneys, custodians, services, managers or other skilled
professionals shall be debited from the Trust Account in accordance with Section-4.5.

(H The Trustee shall not be responsible or liable for special, indirect,:
punitive, or consequential loss or damage of any kind WWhaispeMer (including loss. of profity

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irrespective of whether the Trustee has been advised of the likelihood of such loss or damage and
regardiess of the form of action.

(g) The Trustee shall be entitled to rely conclusively, without
investigation or other action on its:part, on statements opinions, certificates, reports, directions,
signatures, instruments, noticés, advice, requests, waivers, consents, Teéeipts, resolutions, bonds,
caleulations and other documents purported to be received from any Beneficiary, as contemplated
by this Agreement, not only as to due execution, validity and effectiveness, but also as to the truth
and’ accuracy. of any information ‘contained ‘therein, and such reliance shall not constitute
negligence (or gross negligence), bad- faith or willful misconduct in. connection’ with the Trustee’ s
handling of fuiids or otherwise,and the Trustee shall not be liable or accountable to any Person by
reason of such reliance. The Trustee shall not be responsible for the content or accuracy-of any
such documents provided to the Trustee, and shall not be required to spbaleusele certify; or verify
any information: contained therein.

(h) The Trustee may, at the expense of the Beneficiaries (i) request, rely
on and act in accordance with officer’s certificates of the Beneficiaries and opinions of counsel,
and (ii) consult with, and request advice from, legal counsel selected by the Trustee as to any
matters: arising in.connection with this Agreement, the interpretation and administration of any of

the provisions of this Agreement or the Trustee’s rights and obligations under this Agreement.
The Trustee shall incur no liability and shall be fully protected i in acting or refraining frott acting
in accordance with such officer’s certificates and opinions of counsel and the writteri or oral advice
of such legal counsel selected by the Trustee in good faith.

(i) The Trustee shall incur no liability if, by reason of any provision of
any present or future law or regulation thereunder, or by any force majeure event, including but.
not limited to any: act of God, natural disaster, epidemic, pandemic, quarantine, shelteran-place or
similar directives, guidance, policy or other action by any governniental authority, accidents, labor
disputes, disease, national emergency, loss or malfunction of utilities or-computer software: or
hardware, the unavailability. of the Federal Reserve Bank wiré of telex or other wire or
communication facility, acts of war, terrorism, insurrection, revolution or other circumstances
beyond its reasonable ‘control, the Trustee shall be prevented or forbidden. from doitig or
performing any act or thing which the terms of this Agreement provide shall or may be done or.
performed, or by reason of any exercise of, or failure to exercise, any discretion provided for in
this Agreement.

@ The Trustee shall not be required to take any action hereunder if it
shall have reasonably. determined, or shall have been advised by its counsel, that such action is
likely to-result in liability on the part of the Trustee or is contrary to the terms hereof or is not in
accordance with applicable laws.

(k). Any permissive or discretionary act or privilege of, or right or power
conferred upon, the Trustee enumerated in this Agreement shall not be deemed te be or otherwise
construed as a duty or obligation, and the Trustee shall not be personally liable or accountable for

the performance. of any stich act; | ptivilege, right or power except as otherwise expressly provided
herein.

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(ty The Trustee shall not be held responsible or liable for or in respect.
of, and makes no-representation or warranty with respect to (4) the preparation, filing, correctness
or accuracy of any financing statement, continuation statement or recording of any document
(including this Agreement) or instrument in any public office at any time, or (4i) the monitoring,
creation, maintenance, enforceability, existence, status, validity, priority or perfection of any
security interest, lien or collateral or the performance of any collateral.

(m) The Trustee shall not be held responsible or lable for or in respect
of, and makes no:representation or warranty with respect to, the correctness or enforceability of.
the recitals contained in this Agreement or in any related document.

(n) The Trustee shall not be held responsible or liable for, and shall have.
no duty to supetvise, investigate or monitor, the actions or omissions of any other Person, including:
the Beneficiaries, in connection with this Agreement or otherwise, and except as expressly-sct forth
in Article MI of this Agreement, the Trustee may assume performance by all stich Persons of their
respective obligations.

(0) In the ovent that (i) the Trustee is unsure:as to the application or
interpretation of any provision of this Agreement, (ii) this Agreement is silent or is incomplete as.
to the course of action that the Trustee is required or permitted'to take with respect to. a particular
set of facts,or (iii) more than one methodology can be used to make any determination to: be
peifomiied by the T rustee hereunder, then bale Cesiee may give written. hotice to the: Beneficiaries
it good faith in -avcordance with any such written instruction, the ‘Trustee shall not be personally
liable to any Person.. If the Trustee shall not have received such written instruction within ten (10)
days of delivery ‘of notice to the Beneficiaries (or within such shorter :period of time as may
reasonably be specified in such notice or as may be necessary-under the circumstances) it may, but
shall be under no duty to, take or refrain from taking any action, and shall have no lability to any
Person for such action or inaction.

(p) In order to verily Grace’s identity and/or determine the authority of
the person opening the Account, both W.R. Grace & Co, and KDC must submit to the Trustee.a
completed Certification Regarding Beneficial Owners. of Legal. Entity Customers: attached: as
Appendix II to this Agreement at the time the Account is opened and at'such other times’ as the
Trustee: may request. Grace agrees that if requested by the Trustee, Grace will provide copies of
its governing documents and any other documentation requested by the. Trustee to verify the.
information provided on Appendix Il. Grace understands, however, that. the Trustee assumes no
responsibility and has no obligation to review Grace’s governing documents for any purpose other
than to verify Grace’s identity and/or the authority to open the Trust Account. Grace certifies. that
it is authorized to disclose the information provided in the Certification Regarding Beneficial.
Owners of Legal Entity Customers and, to the best of its knowledge, certifies that the information
is complete and correct. Grace authorizes the Trustee to share the information provided in the
Certification Regarding Beneficial Owners of Legal Entity Customers with any individual
authorized to open or update the Trust Account.

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(q) The Trustee shall have no notice of, shall not be subject to; and shall
not be required to comply with, any other agreement unless the Trustee in any capacity is a party
thereto and has executed the same, even though reference thereto may be made:herein.-

(r) Whenever the Trustee (a) receives any amounts, the application or
disposition of which is not clearly addressed hereunder, (b) determines that it is uncerlain about
how to distribute any amounts which it has received, or (c) determines that there is any. dispute
among the Beneficiaries hereto about how such amounts should be distributed, the Trustee may
choose: to defer distribution of the amounts which are the subject of such uncertainty or dispute.
If the Triistee:-in good faith believes that the uncertainty or dispute will not be promptly resolved,
the Beneficiaries agree that the Trustee shall have the right, atits option, to. deposit with, or
commence an interpleader proceeding in respect of, such amounts in the Court for a determination
by the Court as to the correct application of such amounts hereunder.

(s) Each of the Beneficiariés hereby agrees that (y) the Triste (A)
except as otherwise expressly set forth herein, has not provided nor will it provide in the future,.
any advice, counsel or opinion regarding this Agreement or the transactions contemplated hereby,
including with respect to the tax, financial, investment, séctirities law. or insurance implications
and consequences-of the consummation, funding and ongoing administration of this Agreement or
the initial and ongoing selection and monitoring of financitig arrangements, (B) has not made any
investigation as. to the accuracy or completeness of any representations, warranties or other
obligations of any Person under this Agreement or any other document of instrument (other than
the Trustee’s representations and warranties, if any, expressly. set forth in this Agreement) and
shall not have any lability in connection therewith and (C) has not prepared or verified, nor shall
it be responsible or liable for, any information, disclosure or other statement in any disclosure or
offering document delivered in connection with this:Agreement; and-(z) it will make its own
decisions regarding its rights and protections and will not rely on the Trustee regarding such
decisions:

(t} All written directions given by any Beneficiary to the Trustee
relating: to the Trust Assets must be in writing, signed by a representative of such Beneficiary
identified on Appendix I hereto (an “Authorized Person”) and delivered to the ‘Tnistee, as such
Appendix. Imay be amended from time to time by a Beneficiary by notice to the Trustee delivered
in accordance with this Agreement. Directions may be delivered to the Trustee in person or by
US. Mail, overnight courier, facsimile or email. Email directions will be deemed authorized and
signed by an Authorized Person if sent from an email address provided in Appendix I (Authorized
Persons) attached to this Agreement, as the same may be. updated. from. time to time by the
Beneficiaries and delivered to the Trustee (“Authorized Persons List"), with visible electronic
copies to all other Authorized Persons. The Thustee will have no liability under this Agreement
for relying on and acting upon any form of directions which it believés to be genuine. If an
Authorized Person uses email to send directions to the Trustee, the applicable Beneficiary will
causé all Authorized Persons to send emails from the email address provided in the Authorized
Persons List. The Trustee will assume that all emails-sent from a designated email address have
been authorized and sent by an Authorized Person, until either Beneficiary.notifies the Trustee by
delivery ofan updated Authorized Persons List that the email address isno longer valid: Allemails
sent by the Trustee to an Authorized Person’s designated email address will be deemed delivered
when sent by the Trustee; however, nothing in this Section shall reduce the Trustee’s obligations

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to provide certain notices by means other than-email in accordance with Section 6.7. With respect
to notice for which only email is required pursuant to this Agreement, each Beneficiary. waives all
claims resulting from an Authorized Person’s failure to reccive sent emails. The Trustee will be
deemed to have received and accepted directions (and obligated to act on the directions) only when
the Trustee has received and had a reasonable time, taking into account the manner and nature of
the directions, to review the directions and confirm to the applicable Beneficiary that the directions
have been accepted by the Trustee. Under no circumstances will telephone, telephone voice
messaging, and other forms. of telephonic; oral communication; text, skype. or other forms of
instant messaging constitute valid and effective directions under this Agreement. The Trustee’s
execution of any directions requires a cornmercially reasonable period. of time for processing and
is subject to the Trustec’s intemal policies and procedures, customary processing guidelines and
securities deadlines, mutual fund company processing deadlines, and applicable market closings.

. (u) The Trustee shall not-be Hable for failing to. comply with its
obligations under this Agreement or:any. related document in.so far as the performance of such
obligations is dependent upon the timely reccipt-of directions and/or other information from any
Beneficiary which are not received or not received by the time required, The Trustee shall not
have any responsibility for the accuracy of any information provided to any other Person that has
been obtained from, or provided to the Trustee by, any Beneficiary,

47 Exculpation and Indemnification.. The Trustee shall not be personally liable for any
claim, cause of action, or other assertion of liabil ity-arising out.of or in relation to the discharge of
the powers and duties conferred upon the Trust'and/or Trustee by the Settlement Agreement or
this Agreement unless the Court, by’a final order that is notreversed on appeal, finds that the
Trustée committed actual fraud, bad faith, willful misconduct, or gross negligence ormater ially
breached its obligations under this Agreement in relation to. those powers or duties. There shall be
an.irrebuttable presumption that any action taken or not.taken with the express approval of the
Court does not constitute an act-of actual fraud, bad faith, willful misconduct, or-gross negligence
or a material breach of this Agreement. Except as set forth in the preceding seritenice, the Trustee
shall have no liability for any action taken, or errors in judgment made, in good faith by it or any
of its officers, employees or agents. Nothing in this Agreement shall be construdd to exculpate the
Trustee from any liability résulting from any act or omission constituting actual fraud, willful
misconduct, or gross negligence or a material breach of this Agreement (in each case as determined
by a final, non-appealable order from a court of competent jurisdiction),

To-the fullest extent permitted by law.and without prejudice to any separate agreement relating to
indeninification of the Trustee, Grace shall indemnify, protect, deferid and hold harmless the
Trustee-(in its capacity as such and in its individual capacity), its affiliates and their respective
directors, officers, employees, shareholders, representatives, trustees, grantors, bencficiaries,
certificate holders, members, agents, attorneys, accountants and their heirs, successors and
permitted assigns (each, an “Indemnified Person”) from and against any and all fees, expenses,
damages, losses, claims, liabilities, penalties, causes ‘of action, demands, judgments, taxes
(excluding any taxes of the Trustee on, or measured by, compensation received by the Trustee),
suits or costs (in cach case including reasonable attorneys’ fees and expenses, court casts and costs
of investigation) of any kind or nature whatsoever arising out of or in connection with this
Agreement that may be imposed upon, incurred by or asserted against such Indemnified Person,
including in connection with (i) the exercise or performance of any of the Trustee’s rights, powers

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or duties hereunder, and (41) any enforcement (including any dispute, action, claim or suit brought)
by the Trustce of any indemnification or other obligation of Grace (each of the foregoing, a
“Claim’); provided, that Grace shall not be required to indemnify an Indemmified Person for any
Claim resulting from such Indemnified Person’s actual fraud, gross negligence, bad faith or willful
misconduct or material breach of this Agreement (in each case, as determined by a final, non-
appealable order from a court of competent jurisdiction). Notwithstanding the foregoing, unless
and until a final, non-appealable. order of a court of competent jurisdiction determines that an
Indemnified Person acted with gross negligence, bad faith or. willful misconduct or materially.
breached this Agreement, Grace shall advance or reimburse, as reasonably determinable by the
‘Trustee, any and all amounts due to such Indemnified Person. pursuant to the foregoing indemnity.

48 Termination / Resignation of the Trustee: The duties, responsibilities, and powers
of the Trustee will terminate on the date the Trust is terminated in accordance with this Agreement,
or by an order of the Court. Further, the Trustee may resign at any time by giving at least thirty
(30) days prior written notice thereof to the Beneficiaries and any Co-Trustec; and the resignation
shall become effective upon the delivery of the Trust Assets to the successor Trustee appointed
under 4.10. Sections 4.5 through 4.7 above shall survive the termination or assignment of this
Agreement and the resignation or removal of the Trustee.

4.9 Replacement. The Trustee may be removed, with or without cause, and replaced
upon thirty (30) days written notice. bya joint written deterniination of the Beneficiaries. The
removal shall become effective upon the delivery of the Trust Assets to the successor Trustee
appointed under 4.10,

4.10 Appointment of Successor Trustee. If, at any time a successor Trustee is required
for any reason, such successor shall be jointly appointed. i in writing by the Beneficiaries. Any
successor Trustee appointed hereunder ‘shall execute an instrument accepting such appointment
hereunder and shall file such acceptance with the Parties. Thereupon, such successor Trustee shall,
without any further act, become vested with all the properties, rights, powers, trusts, and duties of
its predecessor in the Trust with like effect as if originally named herein; and a removed or
resigning Trustee shall, when requested in writing by the successor Trustee, execute and deliver
an instrument or instruments conveying and transferring to such successor Trustee under the Trust
all the Trust Assets in the custody of such predecessor Tnistee.-A successor Trustee appointed.
under this 4.10 shall be a national banking association, or bank or trust company chartered under
the laws of Pennsylvania, having a capital and surplus of at least $200,000,000. If tio successor
Trustee is timely appointed, and shall have timely accepted. such appointment, then the Trustee
may, at the sole expense of Grace (including with respect to attorney’s fees and expenses), petition
the Court for the appointment of a successor Trustee.

4.11 No Bond. Notwithstanding any state law to the contrary, the Trustee, including any
successor Trustee, shall be exempt from giving any bond or other security in any jurisdiction.

ARTICLE V
TRUST RECORDS, TAX REPORTING

$:1 Accounting. The Trustee will provide quarterly statements to the Beneficiaries that
include a Hsting of all transactions, receipts, and disbursements during the preceding quarter,

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together with a current listing of the Trust Assets held in the Trust Account (“Account
Statements”). Each of the Beneficiaries agrees that the Account Statements ina form customarily
used by the Trustee with respect to its trust accounts are acceptable as confirmation of all Trust
Account transactions. Each of the Beneficiaries understands that it may, at no additional cost,
request from Trustee a more detailed transaction report which may be Trustee’s form of
confirmation or a broker dealer’s confirmation, as applicable. Upon receipt of Account
Statements, each of the Beneficiaries agrees to promptly review them and to file any objections
within sixty (60) days.after the receipt of the Account Statement. Ifno objection is received by
Trustee within the sixty (60)-day period, the Account Statement will be deemed approved and
ratified by the Beneficiaries and will be final and: binding on the Beneficiaries. On or before
February 1 of each calendar year, the Trustee shall provide the Beneficiaries: with a statement
reflecting the Trust Assets’ balance, as: of. December 31 of the immediately: preceding year;
summarizing all Trust transactions from such preceding year:

5.2 Trust Records. The Trustee shall maintain. proper books, records, and accounts
relating to all transactions pertaining to the Trust, and the assets and liabilities of the Trust, in such
detail and for such period of time'as may be necessary to‘enable the Trustee to make full and proper
accounting required under the Section 5.1 and to comply with applicable provisions of law and
good accounting practices; and the Beneficiaries shall have the right, upon reasonable advance
written notice delivered to the Trustee, to inspect such books and records. Except as otherwise
provided herein, or.as reasonably directed by the Bencficiaries in writing, the Trustee shall not be
required to file any accounting or seek approval of the Court with respect to the administration of.
the Trust, or as a condition, for making any: payment or distribution out of the Trust Assets.

5.3 Tax Information.-Subject to definitive guidarice from the Intemal Revenue Service
or a judicial decision to the contrary, the Trustee shall furnish to Grace or any other. party
contributing Trust Assets to. the Trust suchstatements and additional information-as to items of
income, deduction, and credit of the trust for that tax year attributable to the portion of the Trust
treated as owned by that party. in accordance with Treasury Regulations § 1.671-4 and § 301.7701-

4(c}(2).

54 The Beneficiaries may clect to register to use password protected. sections. of
websites sponsored by PNC Bank, National Association through which the Beneficiaries can
access the Trust Account (“Sites”}, The Beneficiaries will be required to accept a website user
agreement(s) for the Sites (the “Website Agreement”). If there is a conflict between the terms of
a Website Agreement and this Agreement, the terms of the Website Agreement will apply to the
Parties” use of the Site.

5.5 Tax Reporting. To the extent directed in. writing by the Beneficiaries, the Trustee
shall also file (or cause to be filed)-any other statements, returns, or disclosures, cach in the form
presented to the Trustee, for filing relating to the Trust that are required by any applicable
governmental unit (which the Trustee shall have no duty to verify or confirm)..

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ARTICLE VI
MISCELLANEOUS PROVISIONS

6.1 Amendments and Waivers. Any provision. of this Agreement may be amended or
waived only by mutual written consent of the Trustee, the State, and Grace. Consent will not be
unreasonably withheld for an amendment proposed by Grace the sole-effect of which is to further
the Trust’s qualification as. an “environmental remediation trust,” provided that such change does
not affect the-substantive rights or obligations of the Parties or the Trustee. All fees, costs and
expenses (including reasonable attorneys’ fees, costs and expenses) incurred by the Trustee in
connection with any amendment or waiver shall be payable by Grace.

6.2 Tax Treatment. The Trust created by this Agreement is intended by Grace to be
treated as an Environtnental Remediation Trust for federal income tax purposes and, tothe extent
provided by law, this Agreement shall be governed and construed in-all respects consistent with
such intent.

6.3 Cooperation: The Trustee shall take such actions and execute such documents as
are reasonably requested by the Beneficiaries in writing with respect to effectuating the Settlement
Agreement and this Agreement and the transactions contemplated thereby. To the.extent that the
Rengliciates request the Trustee to take such an action, the Trustee shall do so at the sole expense
of Grace, who agree.to separately fuiid and pay such expense(s).

64 Governing Law: Jurisdiction: Jury Trial. The Trust Assets, the rights, duties, and
obligations arising under this Trust-Agreement shall be governed by, and construed’and enforced
in accordance with, the laws of the Commonwealth of Pennsylvania without giving effect to the
principles of law thereof that would. require thé application of the laws of any other jurisdiction.
Each of the signatories hereto irrevocably. submits to the non-exclusive jurisdiction of any State-or
Federal court sitting in \ Allegheny County, Pennsylvania in respect of any action or proceeding
Bach party to this agreement irrevocably * waives, to the fullest extent vermitted by applicable law;
any objection or defense that it may now or hereafter have to the laying of venue of any such
proceedings pertaining solely to the construction of the Trust Agreement or the administration of
the Trust.in any such court and any claint that any proceeding brought in any such court has been
brought in an inconvenient forum. EACH PARTY HERETO HEREBY: WAIVES THE RIGHT
THAT IT MAY HAVE TO.A TRIAL BY JURY ON ANY CLAIM, COUNTERCLAIM,
SETOFF, DEMAND, ACTION OR CAUSE OF ACTION PERTAINING SOLELY TO THE
CONSTRUCTION OF THE TRUST AGREEMENT OR THE ADMINISTRATION OF THE
TRUST, IN ALL. OF THE FOREGOING CASES WHETHER NOW EXISTING OR
HEREAFTER ARISING AND WHETHER. SOUNDING IN CONTRACT, TORT OR
OTHERWISE. EACH OF THE SIGNATORIES HERETO HEREBY WAIVES PERSONAL
SERVICE OF THE-SUMMONS, COMPLAINT AND OTHER PROCESS ISSUED IN ANY
SUCH ACTION OR SUIT AND AGREES THAT SERVICE OF SUCH SUMMONS,
COMPLAINT AND OTHER-PROCESS MAY BE MADE BY REGISTERED OR CERTIFIED
MAIL ADDRESSED TOIT AT ITS NOTICE ADDRESS AS PROVIDED HEREIN AND THAT
SERVICE SO MADE. SHALL BE DEEMED COMPLETED UPON SIGNATORY’S ACTUAL
RECEIPT THEREOF. Nothing inthis Paragraph 6.4 shall be construed to establish choice of law,

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jurisdiction, or venue, or waive any jury rights that may exist in connection with any proceeding
not solely pertaining to the constniction of the Trust Agrcement or the administration of the Trust..

6.5 Situs. The initial situs of the Trust shall be the State of Pennsylvania. With the
written consent of the Beneficiaries, the Trustee shall have the power to remove all or part of the
Trust Assets or to change the situs of administration of the Trust from one jurisdiction to another
within the continental United States, and to elect, by a separate acknowledged instrument filed.
with the Trust records, that, notwithstanding Section 6,4, the law of such other jurisdiction shall
gover the administration of the Trust, provided that the Trustee shall not make such an election
if it would alter any beneficial interest under the Trust. The Trustec’s authority to change the situs
of administration of the Trust and elect that the laws of another jurisdiction shall thereafter govern
the administration of the Trust does not impose a duty on the Trustee to monitor the laws of any
jurisdiction other than the jurisdiction m which the Trust is then administered.

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person or circumstance, shall be determined by the Court in a final judgment no longer subject to
appeal to be invalid or unenforceable to any extent, the remainder of this Agreement, or the
application of such provision to persons or circumstances other than those as to which it is held
invalid or unenforceable, shall not be affected thereby, and such provision of this Agreement shall
be valid and enforced to the fillest extent permitted by law consistent with the intent of the Parties
to allow funds for KDID Spillway Work to be available at relevant times.

6.6 Severability. If any provision of this Agreement, or application thereof to any

6.7 Sufficient Notice. Subject to Section 4.6(t), any notice or other communication
required under this Agreement shall be in writing and shall be deemed to have been sufficiently
given, for all purposes, if: (a} sent by email; and (6) with respect to any notice or other
communication required pursuant to Sections 3.1.4, 3.3, 4.5, 4.6(0) or 4.8, also (i) sent through a
nationally recognized reliable overnight delivery service, or (ii) deposited, registered or certified
mail and first class postage prepaid, in a post office or letter box addressed to the person for whom
such notice is intended, to the name and address set forth below, or (iii) personally delivered to
such other address provided in writing to the other Parties hereto by an authorized representative
of the respective Party.

As to the State of Montana:

Montana Department of Environmental Quality
PO Box 200901

Helena, MT 59620-0901

asteinmetz@emteov
Attention: Amy Steinmetz

Montana Natural Resource Damage Program

P.O. Box 201425

Helena, MT 59620-1425

Attention: Libby Asbestos Superfund Site Settlement Agreement
nrdp@mt.gov - a .

with a copy (which shall not constitute notice) to: khausrath@emt.gov,
HarleyHarris@omt.cov, and jessica wilkersan(amt. gov.

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APPENDIX I

AUTHORIZED PERSONS

KDW COMMENTS

10/1/22

The following named persons are officers, fiduciaries, agents, partners or other authorized persons duly elected-or
appointed and authorized to sign written directions on.behalf of [State/Grace] under this Agreement. The directions

of any one of the following persons is sufficient unless.a greater number appears here: (insert number).
Authorized Person Name Title Telephone E-mail Address

Number,

** Above information is réquired for all authorized individuals**

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APPENDIX I
CERTIFICATION REGARDING BENEFICIAL OWNERS OF LEGAL ENTITY CUSTOMERS
I. GENERAL INSTRUCTIONS
| What is the purpose of this form?

To help the government fight financial crime, federal regulation requires. financial institutions to obtain, verify and
record information about the beneficial owners of legal entity Clients. Legal entities cin be abused to disguise.
invelvement in terrorist financing, money laundering, tax evasion, corruption, fraud, -and other financial crimes.

. Requiring the disclosure of key individuals who. ultimately own or control a fegal entity (Le., the beneficial owners}
helps law enforcement investigate and prasecute these crimes.

Who has to complete this form?

This form must be campleted by the person opening or updating an account on behalf of a legal eritity, For the
purposes of this form, a legal entity includes a corporation, limited ability company or other entity that is created by
a filing of public document with a Secretary of State or similar office, a general partnership, and any similar business
entity formed in the United States or a foreign country. Legal entity does not include sole proprietorships,.
unincorporated associations, or individuats opening. or updating accounts on their own behalf.

PLEASE CAREFULLY REVIEW THE CERTIFICATIONS IN THE GRAY
BOXES BELOW TO DETERMINE IF CLIENT IS EXCLUDED FROM
_ COMPLETING ALL OR PORTION OF THIS FORM.

What information do I have to provide?

This form requires you to provide thé name, address, date of birth and Social Security number (or passport number or.
other similar information, in thé crise of Non-U.S. Persons) for the following individuals (i.e., the beneficial owners):!

(i) Each individual, if any, who owns, directly or indirectly, 25 percent. or more of the “equity
interests of the legal entity Client (e.g., each individual that owris 24 percent or more of the:
shares of a corporation); and

a An individual with significant responsibility for managing the legal entity Client (e.g:, a Chief
Executive Officer, Chief Financial Officer, Chief Operating Officer, General Partner,
Managing Member, President, Vice President, or Treasurer).
Regardless of the number.of individuals identified under section (i), you must provide the identifying information of
one individual under. section (ii). It is possible that in some circumstances the same individual might be identified’
under both sections (e.2., the President of Acme, Inc. who also holds a 30% equity interest). Thus, a completed. form

i if a trust, directly or indirectly, owns 25 pefcent or more of the equity interests of a legal entity, the trustee is deemed to he the
beneficial owner of the equily interes! for purposes of this form and the trustee must complete this form with the trustee's information...
For accounts opened by an intermediary on behalf of-the intermediary's underlying customer, the intermediary is deemed to be
legal entity subject to reporting under this form, not the intermediary's underlying customers. Accordingly, this form should be
completed by the intermediary entity with the intermediary's information.
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will contain the identifying information of at least one individual Gander section-(ii)}, and tp to five individuals {Le.,
one individual under section (ii) and four 25 percent equity holders under section (i).

You may also be asked to provide a copy of a driver's license or other identifying document for each beneficial owner
and controlling party listed on this form.

Note regarding updating information: From time to ime the information provided in this form may need to. be
updated due to changes in the ownership or controlling party of the legal entity Client or its beneficial owners. Further,
from time to time PNC may-be réquiréd to verify the continued accuracy of the information provided. .

Li. CLIENT CERTIFICATION FOR EXCLUDED LEGAL ENTITIES AND NON-PROFIT
CORPORATIONS

Excluded Legal Entity. Certification. Below is a list of Client entities that are nat required to complete this form.
Please review the list below carefully, If you determine that Client entity is an excluded legal entity, please complete
the certification below.

“SEC. registered investinent adviser
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Non-Profit Corporation Certification (see Excluded Legal Entities above for non-profit trust entities). Clieat
formed as a non-profit corporation or similar legal entity that does not have ownership interests (including, charitable,
nonprofit, not-for-profit, public benefit or similar corporations) are not required to complete the Beneficial Owner
sections of this form.

IF CLIENT IS A NON-PROFIT CORPORATION, PLEASE COMPLETE THE: CERTIFICATION
BELOW AND PROCEED TO SECTION Hid,
t: Client cert ies, by es this box, 1 is a non: prof corporation of. similar legal joni

standing issued by the state in which the Client i is 1 reoported

IF CLIENT CANNOT MAKE ANY OF THE CERTIFICATIONS IN THE ABOVE BLUE BOXES, CLI ENT
MUST COMPLETE SECTION IIL OF THIS FORM.

Hi. CERTIFICATION OF BENEFICIAL OWNER(S)

Persons opening or updating an account on behalf of a legal entity must provide the following information:

a. Name, Type, Address, and Taxpayer Identification Number (TIN}of Legal Entity. for Which the Account is Being
Opened or Updated (.e., the Client):

Entity Name:

Entity Type (e.g. Corporation, Partnership, etc.):

Entity Address:

Entity TEN:

b, Name aid Title of Person Opening or Updating Account:

Name:

Title:

c. Beneficial Owner(s): The following inforniation for each individual, if any, who, directly or indirectly,
through any contract, arrangement, understanding, relationship or otherwise, awns 25 percent or more of the
equity inferests of the legal entity listed above.

If no individual meets the definition of “Beneficial Owner” check the box.
below and continue to Section Ilf{d),

{1 Beneficial Owner Not Applicable
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For U.S. Persons: dndicate ifyou are a US. Citisen, US. Resident Alien or lnunigrant Refiigee and provide

Social Security Number (SSN)

For Non-US. Persons: Provide SSN, individual Taxpayer Identificitian Number (ITIN), Passport er Other
Aéceptihle 1D Information

Name

% of
Owner-
ship

Date of
Birth

Residential Street
Address

For U.S.
Persons:

For Non-U.S. Persons:

CUS. Citizen

Passport or Other

Acceptable 1D Type:
(U.S, Resident ——_ ae
Alien
Cl Immigrant ID #:
Refugee

Country of Issuance:
SSN #:
cee =| SON ATTIN #:
C1 ULS, Citizen. | Passport of Other

Acceptable ID
CIULS. Resident cee ame
Alien “
. | ID#:

O Immigrant
Refugee

Country of Issuance:
SSN #:

SSN / ITIN#:

(U.S. Citizen

CU ULS. Resident
Alien

( Immigrant
Refugee

SSN #:

Passport or Other
Acceptable ID
Type:

ID #

Country of Issuance:

SSN /ITIN#

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CPUS. Citizen

C1 U.S. Resident
Alien

CJ Immigrant
Refugee

SSN #:

Passport er Other
Acceptable ID
Type

IDE

| Country of Issuance:

SSN /ITIN #:

legal entity listed above, such as:

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dual with significant responsibility for managing the

Anexecutive officer or senior manager (e.g., Chief Executive Officer, Chief Financial Officer, Chief
Operating Officer, General Partner, Managing Member, President, Vice President, Treasurer): or

Any other individual who regularly performs similar functions.
(if appropriate, an individual listed under Section Il(c} above may also be fisted in this Section Hi(d)).

For U.S. Persons: Indicate ifyou are a U.S. Citizen, U.S. Resident Alien-or Immigrant Refugee and provide
Social Security Number (SSN) ~
For Non-US. Persons: Provide SSN, Individual Taxpayer Identification Number (ITIN). Passport or Other
Acceptable ID Information

Name

Title

Date of
Birth

| Residential

Street Address

For U.S, Persons:

For Non-U.8.
Persons:

CUS. Citizen

CLUS. Resident
Alien

O Immigrant
Refugee

SSN #:

Passport or Other
Acceptable ID
Type:

ID #:

Country of Issuance:

SSN /ITIN #:

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Exhibit E - Alleged Injury and Examples of Restoration Options to Address Alleged State
NRD at OU3
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Alleged Injury and Examples of Restoration Options —
to Address Alleged State Natural Resource Damages at or Relating to
Operable Unit 3 of the Libby Asbestos Superfund Site

This report provides information and analysis in support of the State of Montana (State) and
W.R. Grace & Co. (Grace)’s belief that a settlement payment of $18.5 million is sufficient to |
restore, replace, rehabilitate, and/or acquiré the equivalent of injured natural resources within the
State’s trusteeship, and therefore will compensate the public for the State's claim for alleged
injuries to natural resources resulting from the release of hazardous substances in or related to
Operable Unit 3 (OU3) of the Libby Asbestos Superfund Site (Site).! This report includes an
overview.of the nature of the alleged injuries and service losses, with references to-related
studies and data: if is not an exhaustive summary of this information. This report also describes
the types of restoration projects that could be implemented to compensate for losses, the types of
ecological values that could be provided, and the anticipated criteria for selecting restoration
projects. The settlement reflects the judgment and experience of experts for Grace and the
Montana Natural Resource Damage Program (“NRDP”).

The NRDP’s mission is to act on behalf of the Governor of the State of Montana, the trustee, to
‘recover damages for natural resources injured by the release of hazardous substances and to
restore, rehabilitate, replace, or acquire the equivalent of the injured natural resources.

1. NATURE OF THE STATE’S ALLEGED INJURIES

Information collected at the Site under the oversight of the U.S. Environmental Protection
Agency (EPA) in consultation with the Montana Department of Environmental Quality (DEQ)
and other agencies pursuant to the Comprehensive Environmental Response, Compensation and
Liability Act, 42 U.S.C. §§ 9601 er seg. (CERCLA), as well as other information, has been used
by the State and Grace to evaluate the nature of potential natural resource injuries and potential
lost services in connection with the settlement agreement. Some of this information, including
relevant background information, is summarized below. The State has not conducted a formal
natural resource damage assessment (NRDA) at the Site under U.S. Department of Interior
(DOD regulations promulgated under CERCLA, 43 C.F.R. Part 11, or under the Montana
Comprehensive Environmental Cleanup and Responsibility Act, 75-10-701, MCA, ef seq.
(CECRA). This document doés not include all of the information that would be in an NRDA: and
is based on the information gathered to date.

' As indicated in the Settlement Agreement between the State and Grace, each Party denies the allegations of the
other. Grace asserts that there are no significant natural resource damages (NRD) al or related to OU3; the State
asserts that there are more significant NRD at or related to OU3. The Settlement Agreement represents a
comprontise that compensaies the State (as trustee) for the damages that it alleges in exchange fora release of all of
the State’s NRD claims against Grace in or related to the Libby Asbestos Superfiind Site. The Settlement
Agreement to which tis report is attached is solely on behalf of the State and Grace, and does not expand or limit
the legal rights or obligations of any person or entity other than the State and Grace.

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As Site History and Assessment

OU3 of the Site consists of a former vermiculite mine and adjoining forested lands, located
approximately 7 miles to the northeast of the town of Libby, Montana. The former mined area
_and immediately surrounding area are owned and managed by the Kootenai Development
‘Company (KDC), a Grace subsidiary; other land within OU3 is managed by the U. S. Forest
Seryice.

The former vermiculite mine was operated from the early 1920s to 1990, initially by the Zonolite
Company, which sold the mine and processing facilities to a predecessor company to Grace in
1963. Historically, vermiculite fromi the former mine was used in insulation, feed additives, soil
amendmenis, packaging, and construction materials. Vermiculite ore, excavated overburden’
(waste rock), mine tailings, arid associated material from the former mine contain amphibole-
type asbestos, a material in the geology in the mine area that is termed Libby amphibole asbestos
{LA). Such materials also.may contain non-asbestos hazardous substances.

Mining operations included blast and drag line mining and milling of ore, with ore. processing
dak ines place onsite during most.of the time the mine was in operation. Both dry milling:and wet
milling were conducted at the mine site up to appr oxiinately 1974, after which the entire
‘operation used wet processing (MWH 2016). In 1972, the Siate issued to Grace an operating
permit.under the Metal Mine Reclamation Act. Grace operated the miné under its. permits, and
performed reclamation of mined lands as they were taken out of operation (MWH 2016). Mining
operations ceased completely by 1990, followed by further reclamation efforts that included
demolition of mine facilities, re-contouring of the mined areas, and revegetation (MWH 2016).

In October.2002, EPA added the Libby Asbestos Superfund Site to the National Priorities List:
EPA divided the site into multiple operable units. For OU3, a remedial investigation (RI) under
CERCLA ‘began in-2007. The RI was performed in phases, and included collection of more than
3,300 environmental samples for LA analysis and more than $00 samples for non-LA analysis
(W.R, Grace & Co. et al. 2019). Surface water, sediment, sediment pore water, groundwater,
soil, mine wastes, forest duff, tree bark, air, and fish and mammal tissue were sampled for
analysis.

EPA conducted baseline ecological risk assessments (BERAs) as partof the RI. The objective of
the risk assessments was to determine the potential for current or future unacceptable risk to:
ecological receptors (e.g., fish, aquatic invertebrates, terrestrial plants, terrestrial invertebrates,
birds and marnmals) within OU3. EPA published two BERAs that were the.culmination of the
ecological studies. The first evaluated ecological risks potentially associated with non-asbestos
hazardous substances, such as inorganics (Non-Asbestos BERA) (USEPA 2013). The second
examined ecological risk potentially associated with LA (Asbestos BERA) (USEPA 2014)..A
summary of the risk assessments is presented in the final RI report (MWH 2016). Grace and the
State considered the data collected for the BERAs and RI, as well.as additional information, in
their respective.evaluations of potential natural resource injuries and service losses in and
relating to OU3. Some of the data and analyses are discussed in greater detail in subsequent

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séctions of this document. The State does not agree with all analyses and conclusions presented
in these reports.

B. OW3 Habitats

OU3 provides a range of habitats for aquatic and upland species: creeks and their associated
riparian zones, ponds, wetlands, and upland habitats.

1 Aquatic Habitats

The primary surface waters in OU3 that are most likely to have received asbestos and other non-
asbestos hazardous substances released as.a result of mining activities are within the Rainy Creek
watershed (~46.1 km?) and include Rainy Creek, Fleetwood Creek, Carney Creek, portions of
the Fine Tailings Impoundment (FT), the. Mill Pond, and potentially the Kootenai River. Rainy
Creek is divided into Upper Rainy Creek (north of the mine area) and Lower Rainy Creek. Rainy
Creek flows into the Kootenai River approximately 3.9 km south of the mine area.

Fleetwood Creek. flows east to west on the northern border of the mine-area and through a
portion of the.coarse tailings pile prior to discharging to the FTL: Carney Creek lies south of the
mine area and flows along the toe of the West Waste Rock Pile before joining Lower Rainy
Creek just downstream of the Mill Pond. Rainy Creek and portions of both tributary creeks are
perennial (USEPA 2013) and provide habitat for fish-and aquatic invertebrate communities
(MWH 2016). Riparian areas occur along the creeks and provide ecological benefits such as
channel stability, shade for the stream, erosion control, energy flow, nutrient cycling, water
cycling, hydrological function, and plant and animal habitat (USDA 1996).

In addition to the creeks, there are ponded areas in OU3, including Carney Pond, Fleetwood
Pond, arid the Mill Pond. The FTI includes a ponded area that varies in size depending on
precipitation. The FTI (~70 acres) was established in 1972 to receive and settle mine tailings,
through construction of the Kootenai Development Impoundment Dam (XDID) across Rainy
Creek. Water enters the FTI from Upper Rainy Creek,-Fleetwood Creek, surface runoff, and
groundwater. The Mill Pond, which is located in the Rainy Creek channel downstream (south) of
the KDID and just north of the confluence of Carney Creek, was constructed to supply water for
mining operations and discharges into Rainy Creek. Wetlands are present on and adjacent to thé
FTI and portions of the other waterways, and provide similar ecological benefits and services as
those provided by riparian habitats.

In addition to the physical impacts of mining operations, physical alterations of the OU3 habitats
have occurred over the years due to a variety of other activities, including timbering operations,
channelization for road construction, and placement of culverts and impoundments (USDA
2000).

2. Terrestrial Habitats

Upland habitats within OU3 consist primarily of the former mined area and surrounding forests.

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The area disturbed by mining (including the former mined area and former tailings
impoundment) covers approximately 1,100 acres of OU3 (MWH 2016). This area is
characterized by native rock, soil, and vegetation, as well as waste rock and tailings resulting
from past mining activities. During the period of mine operation, this area was. largely
unvegeétated. Mining activities not only involve physical disturbance by heavy machinery and
excavation, but also include removal of topsoil and placement of waste rock, which changes the
physical conditions of the soil environment (e.¢.;Sheoranet.al. 2010; Baig 1992).

Mined areas were reclaimed-as mining in those. areas was phased out. More extensive .
reclamation efforts at the former mine. began in 1991 ‘after mine closure. These efforts included:
hydroseeding and reforestation with pine and deciduous trees. Other reclamation efforts included
regraditig, trenching, and other physical measures to stabilize the mite surface.

At present, vegetative communities-of the former mined area include forests, steppe shrub, and
grassland habitat, with grassland and steppe shtub providing the predominant cover. Some bare
soil areas exist, primarily on stéeply sloped waste rock piles and other steep slopes.

Outside of the former mined area, the OU3 terrestrial habitats consist of temperate montane
forests, portions of which have been historically logged. Douglas fir is the most common.tree
type, present-at about 35% of the forested OU3 area, followed by lodgepole pine (17%) and
spruce-fir (17%), with western larch forest on about | 1% of the forested land area. The
remaining area is populated with various deciduous species common in northwest Montana
(MWH 2016). The QU3 forest outside of KDG/Grace ownership is part of the Kootenai National
Forest.

C. Hazardous Substances Associated with Alleged Natural Resources Injuries

Due to proximity to the mine and associated access roads, the aquatic and terrestrial habitats of
the Rainy Creek’ watershed have been exposed to LA aiidother: non-asbestos constituents
released from the mine area, Although some remediation has occurred, a final remedy has not
been selected for OU3, and remediation of the entire forested watershed area within OU3 has not
occurred and may not occur. Therefore, surface waters within the Rainy Creek Watershed in
OU3 remain exposed to LA fibers and other non-asbestos contaminants, Depending on their
concentrations and other circumstances, these.constituents have the potential to adversely affect
the aquatic, riparian, and terrestrial species that reside or forage in these habitats, and thereby
result in natural resource injury, Natural resource injury catised by the release of a hazardous
substance could be the source of natural resource damages, as defined under-CERCLA, CECRA,
aid related guidance.

The Non-Asbestos BERA (USEPA 2013), Asbestos BERA (USEPA 2014), and RI report
(MWH 2016) identified a number of hazardous substances released from the Site mining and
milling activities and present within OU3 at concentrations that could pose risk to ecological
receptors and/or exceed Circular DEQ-7 Montana Numeric Water Quality Standards (DEQ-7
Standards) or Residential Regional Screening Levels.(RSLs). These substances include:

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Aluminum,
Barium,
Chromium,
Cobalt,
Copper,

e® fron,

® Lead,

* Manganese,
e Nickel,

* Selenium,

« Vanadium,
e Gross alpha, and
e LA?

*» @® &

In addition, screening-level toxicity benchmarks w were exceeded in one ofr more Site media (soil
and sediment) for:

« Antimony,

* Benzo(b)fluoranthene,
* Benzo(k)fluoranthene,
« Cadmium,

» Fluoride,

e Mercury,

e Naphthalene,.

« Nitrogen as nitrite,

* Thallium, and

* Asbestos.

Site investigations conducted as part of the RI and BERAs were used by EPA to assess the
degree to which these constituents were present in-OU3 and posed ecological risk. The. RI and
BERAs provide data with which to assess the range of possible natural resource damages in
OUS3. The data collected for these studies are referenced below in the context of potential types
of natural resource injuries and service losses.

D. Per Se Injuries

Under the DOT NRDA regulations, natural resource’ injury is defined to exist when
concentrations of hazardous substances are in excess of certain quality standards under the

; Regardless of whether there is a relevant standard for LA concentrations in the surface water, for purposes of this
report, measured concentrations of LA In surface water are compared to DEQ-7 standards and maximum
contaminant levels based on i eteots from exposure to chry sotile asbestos. DEQ-7 does not provide an aquatic life
standard.

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circumstances specified in the regulations (see 43 C.F.R. § 11.62); this is sometimes teferred to
as “per se” injury.

A review of the available data collected as part of the RI demonstrates the potential per se
injuries described below.

1 Surface Water

As part of its screening analysis, the Non-Asbestos BERA identified the potential for risk to
aquatic receptors from barium in surface water (USEPA 2013). In addition, concentrations above

chronic DEQ? Standards for aquatic life for total lead and total iron were observed in surface
water samples from Fleetwood Pond (MWH 2016). Dissolved aluminum was detected in one
seep Sie from the Site at a level of £10 ug/L. All other dissolved aluminum results were non-
detects.

Surface water was sampled in the Asbestos BERA (USEPA 2014) for LA. Results for water are
typically expressed as million fibers per liter (MFL). Though there:is no specific surface water
quality standard for LA, for purposes of this report, the results were compared with EPA‘s.
maximum contaminant level (MCL) and the DEQ-7 Standard for surface water for asbestos
fibers of 7 MEL." AlLof the following results are from the RI (ee, e.g., Table 5-1 7a):

* In Upper Rainy Creek, 48 samples were collected from three locations. LA was below the
7 MEL criterion inall samples, though.LA was detected in two locations,

e In Fleetwood Creek and Fleetwood Pond, 46 surface water samples were collected at
three stations: concentrations of LA >10 jim ranged from 0 MEL to 289 MEL.? Six
samples were above 7 MFL in Fleetwood Creek and Fleetwood Pond (13% of the
samples).

¢ In Carney Creek and Camey Pond, 72 surface water samples were collected at five
stations: concentrations of LA>10 jm ranged from 0 MFL.to 26 MFL.° Three samples
were above 7 MFL in Carney Creek and none in Carney Pond (4% of the samples). An
additional 21 samples were collected from seven seep locations near Carney Creek;
concentrations of LA >10 um ranged from 0 to 32 MFL.

e In Lower Rainy Creek, 263 samples were collected at 11 stations; concentrations of LA
>10 pm ranged from 0 MFL to 66 MFL. Twenty-five samples were above 7 MFL in
Lower Rainy Creek (10% of the samples).

The results tended to réflect seasonal variation. Concentr. ations * were generally highest during
high flows such as spring runoff.

3 The reporting Hmit for dissolved aluminum in-surface water was 90 pte/L, which is above the DEQ-7 aquatic life
chronic standard for dissolved aluminuin of 87 pa/L.

+The ? MFL criterion applies only to fibers greater than 10 inicrons (10 ym) in length.

* The contractor reported that the sample result of 289 MFL in Fleetwood Pond.{and duplicate sample result of 219
MEL) is suspect, as if ig an order of magnitude higher than the flext highest sample of 28 MFL at that location and
was collected through a method that might have intradticed higher sediment concentrations in the sample.

* Resampling following the 26 MFL result, at the sanie location about 6 weeks later, had a OQ MPL result. The next
highest sample at that location was 7.5 MEL.

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Some of the above conditions, if all criteria.under the DOT regulations were met, would be
defined as surface water injury. This report does not determine whether any of these conditions
satisfy the DOI regulatory definition, but this information was used in evaluating the scope of
potential injuries.

Concentrations of LA in reference ponds and creeks in and around OU3 tended to be below
detection or very low. The Asbestos BERA reports that LA fibers in the Kootenai River were
low and not different between samples from upstream and downstream of the confluence of
Rainy Creek.

2. Groundwater

LA was analyzed in groundwater samples as part of the RI (MWH 2016). Groundwater sampling
was conducted in 8 shallow wells and 6 bedrock wells, with most wells sampled 2 to 3 times for
a total of 20 shallow well samples and 14 bedrock samples. Two samples from the shallow
groundwater wells showed LA concentrations above 7 MFL. The two results above 7 MFL may
reflect sampling anomalies’ and sampling issues and detections in equipment rinse blanks led to
adjustment of the groundwater results (Appendix I to the RI [MWH 201 6]); further samples were
not collected.

Fewer samples were collected for non-asbestos contaminants. Samples for non-asbestos
contaminants showed sorne elevated concentrations of site contaminants compared to screening
levels established for assessment of potential drinking water exposures in people. Iron and
manganese Residential RSLs for tap water (non-regulatory criteria) were exceeded in
groundwater samples (USEPA 2013), and the DEQ-7 Standard and EPA MCL for gross alpha
was exceeded in one groundwater sample from a bedrock well (USEPA 2013; MWH 2016).

Some of the above conditions, ifall criteria under the DOI regulations were met, would be
defined as groundwater injury. This report does not determine whether any of these conditions.
satisfy | the DO] regulatory definition, but this information was used in evaluating. the scope of
potential i injuries.

Sy Sediment Pore Water

LA was measured in instream sediment pore water at Lower Rainy Creek and reported in the RI
(MWH 2016). LA concentrations up to 623 MFL were measured in pore water (fibers >10 um).$
On average, LA. concentrations were greater in pore water samples than in surface water samples
collected frorn the same locations i in Lower Rainy Creek. The data indicate that biological

7 «Elevated LAA levels are thought to be related to suspended sediment in the water at the time of sampling, given
that the other samiples collected from both pigzometers had significantly lower LAA levels. In addition, sampling
pump issues were noted during the April 2015 sampling...” (MWH 2016, Table 5-166, p. 312)

° Pore water sample concentrations were variable across replicate samples and across samples callected during the
sample durations (MWH 2016}.

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resources could be exposed to higher levels of hazardous substances in pore water compared to
surface water.

Non-asbestos contaminants were not analyzed in sediment pore water, which the parties have
considered.

4, Sediment

In stream sediment, Concentiations above screening level ecotoxicological benchmark valués are
not a per se injury, but indicate the potential for injury to the surface water in Montana as the
State’s water quality standards are based ‘on measurements that include a fraction of suspended
sediments. Sediment was analyzed in the Asbestos BERA by first sieving and grinding samples
to rediice particle size to <250 ym and identifying LA fibers based on optical characteristics
using-polarized light microscopy. Visual area estimates are subjective, and results are considered
_semi-quantitative. Results are associated with bins of approximate ranges in percentages; Bin A
represents non-detect samples, Bin BI is <0.2% LA, B2 is 0.2% to <1% LA, and C is 21% LA.

Sediment samples from Lower Rainy Creek, Fleetwood Creek, Camey Creek, the FTI, and the
Mill Pond eontained LA fibers above detection (USEPA 2014). Sample results were highest in
Carney Creek adjacent to the mine area and in Rainy Creek below the FTI. Most samples from
Upper Rainy Creek were non-detect (Bin A). A total of 62 sediment samples collected inthe
above dreas were in Bin C and ranged from 1% to 10% LA fibers.

Several non-asbestos analytes exceeded threshold effect concentrations (TECs) and/or sediment-
based wildlife benchmarks in site sediments, as: reported in the Non-Asbestos BERA (USEPA
2013) and summarized in Table 1, below. The TECs and other toxicity benchmark values are
typically used inthe screening stage of an ecological risk assessment to identify the potential for
ecological risk.

A hazard quotient (HQ) is the ratio of the hazardous substance concentration in the exposed
media compared to.some toxicity benchmark or quality criterion. HQ values represent the
maxinnum detected concentration divided by the toxicity benchmark, so a maximum HQ value
greater than | indicates the maximum sediment concentration exceeded the toxicity benchmark.
. Calculated HQ values for OU3 sediment ranged from <1.0 to 54 for several non-asbestos
analytes. Of the analytes with HQ values greater than 1, aluminum, barium, chromium, cobalt,
copper, lead, manganese, nickel, vanadium, and zinc were also found to exceed sediment
concentrations measured in reference samples.

Fable L Hazard Quotient Vahies for Analvies that Exceeded Sediment Schecning Valucs

Maximum HQ for TEC- | Maximum HQ for Sediment-
Analyte. Based Benchmark Based Wildlife Benchmark
Aluminum 1.6 NC
Arsenic 0.72 5.1
Barium NC 23
Cadmium 1.0 0.07

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Maximum HQ for TEC- | Maximum HQ for Sediment-
Analyte Based pee k Based Wildlife Benchmark
Chromium 16. 5 se Pe
Cobalt NE
Copper S53 os
Lead 280
-Manganese 20° a
“Mercury 0.56
Nickel _ 16:4
Selenium NC
Vanadium NC
Zine 0.78 110
4 Benzo(b)fluoranthene 14 0.011
Benzo()fluoranthene 1.2 0.0094
Naphthalene 16 0.017

Notes: BOLD ~ sedinient. concentrations exceeded toxicity benchmark and were statistically greater than reference
sediment concentrations; BOLD (no shading) —sediment concentrations exceeded toxicity. benchmark but were.
statistically equal to or less than refererice sediment concentrations; /talics — sediment concentrations did notexceed
toxicity berichmark (HO < ly HO = hazard quotient} NC ~ not calculated, no screening value; TEC —~ threshold
effect concentration; Data from Nou-Asbestos BERA (USEPA 2013).

The Non-Asbestos BERA does not evaluate antimony in Site sediments, though antimony was
detected in Site ponds and these data are reported in the OU3 RI. Antimony concentrations in
two samples (one from Carney Creek Pond [4 mg/Kg] arid one from the FTI Pond [5 mg/kg)
exceeded the TEC.(2.mg/kg) and the probable effect concentration (4 my/kg).

Exposure to-contaminated sediment can affect the growth and survival of invertebrates and limit
the habitat available. for colonization. In addition, biological resources higher in the food web
potentially could be at risk from exposure to contaminants from eating contaminated
invertebrates or from incidental ingestion of sediment while foraging. The studies in the EPA
BERAs, noted below, evaluated such endpoints.

E. EPA Studies Performed to Evaluate Ecological Risk

The Asbestos BERA and Non-Asbestos BERA examined the potential risks to d variety of
ecological receptors from LA and non-asbestos hazardous substance concentrations in soil. The
following site-specific studies were conducted as part of the BERAs to evaluate the extent to
which hazardous substances in surface water, sediment, and soil may pose risk to ecological
receptors in-OU3:

Laboratory juvenile trout toxicity tests (non-asbestos contaminants)
In situ juvenile trout toxicity tests

in situ ege/alevin trout toxicity tests

Resident trout lesion study

Resident trout population study —

ee 8 e

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H. azteca (benthic invertebrate) sediment toxicity test
C. tentans (benthic invertebrate) sediment toxicity test
- Resident benthic mactoinvertebrate population study
Laboratory tadpole sediment toxicity tests
Resident frog lesion study
Resident mouse lesion study
Literature-based evaluation of sensitivity of birds to LA relative to small mammals

* # @¢ &® @ #¢

‘The results of these studies, along with EPA's habitat evaluations, weight of evidence evaluation,
and analysis of uncertainties, are detailed in the BERAs.

F. Summary of Potential Natural Resource Injuries and Service Loss at or
related to OU3

The data collected as part of the RI and BERA investigations indicate that natural resources
within OU3 are exposed to LA and a subset of other non-LA hazardous substances. Past, present,
and future injured OU3 resources could include:

Small, large, and aquatic-dependent mammals
‘Birds

Fish

Reptiles and amphibians

Aquatic invertebrates

Terrestrial invertebrates

Terrestrial and aquatic plants

Wetland and upland habitats.

* &* & * © & ££

To the extent that injury occurred, the following categories of resource services, among others,
could theoretically have been reduced:

» Habitat services for biological resources, such as habitat for feeding and reproduction

¢ Fishing, particularly recreational fishing below the ordinary high-water mark per
Montana stream access laws (§23-2-301, MCA, ef seq.)

s Drinking water supply {to the extent relevant)

* Non-consumptive uses such as wildlife viewing and photography and other outdoor
recreation activities below the ordinary high-water mark per Montana stream access laws
(§23-2-301, MCA, e7 seq.) .

* Primary and secondary contact recreational activities such as swimming and boating
below the ordinary high-water mark per Montana stream access laws (§23-2-301, MCA,
ef seq.)

* Option and existence values.

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Th TYPES OF RESTORATION PROJECTS AND RESULTANT SERVICES

The natural resource damages component of the Settlement between Grace and the State was
negotiated and executed on a cash-out basis, with funds paid to the State over a period of 10
years. No particular project or projects are required by the Settlement, no particular project has
been identified by the State at the time ofthis Report, and the projects ultimately implemented
by the State may differ from the examples provided below, but the State must use settlement
funds for restoration projects and support therefor, including costs for State restoration plan
development and implementation, and administrative, program, legal, technical and all other
related costs, to the extent lawful under CERCLA or CECRA. The State intends and anticipates
using Settlement funds in connection with projects that provide natural resource and other:
benefits in and dtound OU3.

The following sections describe various types of exemplary restoration projects: ‘that may be
constructed to. benefit and improve aquatic-and terrestrial natural resources and the sérvices they
provide. Additional types of restoration projects may also be considered. Other restoration
actions selected to implement previous State NRD settlements at other sites can be found within
the restoration plans for those sites, which are available on NRDP’s website. Nothing in this
report is intended to bind any party to a specific injured resource or particular type of project.

A. Aquatic Habitat Improvement Restoration Projects:

Potentially injured resources identified at the Site include fish and other aquatic biota.-A variety
of restoration projects. could be implemented to restore lost services. Bélow is a sunimary of
types of aquatic habitat improvement projects that would restore aquatic ecological services.

In addition to the specific service benefits described below, the illustrative aquatic restoration
activities all generally provide improved water quality, thereby providing favorable habitat to
increase populations of in-stream biota. This should benefit upland predators that rely on stream
foed sources. Restoration of aquatic ecological resources ultimately benefits the entire ecosystem
through increased biodiversity and results in enhanced recreational opportunities. Many of the
restoration activities described below have been implemented in projects in the Kootenai and
adjacent watersheds with significant success.

The selection of any specific creek restoration activities could be geographic (to prioritize a
specific watershed or a specific creek segment to be identified, potentially including within OU3
once remediation has been completed) in accordance with the criteria outlined in Section IIL.

1. Riparian Improvement

Riparian improvement projects include revegetation, reducing livestock access,
removing/enhancing roads, streambank stabilization, floodplain restoration, reconstructing
stream channel(s), constructing floodplain wetland cells, woody debris placement,
microtopography creation, bank treatment, seeding and mulching, and planting. These types of
projects can provide a host of services. Revegetation of the riparian area reduces contaminant
mobility by providing filtration of overland flow and reduces sedimentation by providing soil

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stabilization. Vegetation provides habitat cover for both upland and in-stream species, and limits
surface water temperature fluctuations by providing shade. Floodplain restoration projects,
including reconnecting the floodplain area and constructed wetlands, reduce erosion and _
subsequent sedimentation by reducing flow velocities, and provide opportunities for natural
stream channel changes over time. Road removal and streambank stabilization projects, often
supported by and conducted in conjunction with revegetation and floodplain restoration, reduce
sedimentation (Yochum 2018) and can lead to an overall improvement in habitat conditions,
thereby contributing to more robust and abundant populations.-of fish and wildlife. Engineered
floodplains and riparian plantings also may improve groundwater quality by providing filtration
of runoff and reducing overland flow, thereby encouraging groundwater recharge.

De In-Stream Habitat Improvements and Channel Modifications

In-stream habitat improvement and channel modification activities can create habitat for biota by
providing variable structures and improved channel flow. Modifying stream mor, phology by:
adding meanders and creating variable pool-riffle-run habitat directly improves habitat for fish
(particularly trout) and invertebrates. Installing. boulders, woody debris, and other lar ge
structures creates shelter and resting areas for fish that mimic natural: features in streams and
rivers. These features also create cover and reduce flow velocity to provide habitat for
invertebrates (Wohl et al. 2015), These kinds of habitat improvements would advance and
restore more natural hydraulic conditions and restore natural sediment transport processes,
thereby improving water quality. The improvement and addition of habitat through stream
channel modifications should result in increased fish and invertebrate populations, providing
both ecological and recreational benefits

2. Fish Passage

Conceptual fish passage projects include restoration activities such as removal of fish passage
barriers in creeks andstreams and addition of screens to reduce fish access to artificial
diversions. These types of habitat improvements would benefit'a variety of native and other fish
species..

Removal of barriers and enhancement of passage structures such as culverts and fish ladders can
directly benefit fish survival and spawning by enabling fish to regain access to diverse habitats
and additional food sources. Restored access to spawning habitat should result in a direct
increase in fish numbers, which would benefit imperiled species and increase recreational fishing
opportunities by increasing fish populations and expanding accessible fishing areas. Limiting
access to unsuitable habitat by placing screens on irrigation and power diversions can also
encourage fish to instead utilize appropriate habitats for foraging and spawning. This should
increase survival and reproduction rates for fish, especially trout (Yochum 2018).

B. Terrestrial Habitat bnprovement Restoration Projects

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Activities can be implemented to improve upland terrestrial habitat and benefit ecological
resources in the surrounding area. Example projects include selective removal of non-native
plant species and/or planting of native trees aiid vegetation in QU3 and surrounding forest areas.

1. Native Planting and Removal of Non-Native Species

Planting native trees and vegetation has direct benefits for not only the immediate-area, but.

globally as well. Planting in burned, logged, or other denuded areas restores habitat for wildlife,
giving birds, mammals, and réptiles improved nesting/burrowing, foraging, and hunting
opportunities. Invertebrates will-also benefit from increased access to food-and shelter, as.well as
improved soil health. Trees also sequester carbon, reducing aimospheric carbon dioxide levels
that contribute to global climate change (Dumroese et al, 2019).

Native planting and removal of non-native species activities in targeted areas would result in
increased opportunities for multiple recreational uses in forested areas. Forest planting also.
improves surface water quality and has the potential to improve groundwater quality, through
increased soil stabilization and filtration and reduction of evaporation from soil.

C. Recreational Fishing

A replacement recreational fishing project for potential lost recreational usé could: inelude
acquisition of land and construction of a fishing access site or other recreational access site in
Lincoln County in cooperation with Montana Fish Wildlife, and Parks or a local governmental
entity. It would be constructed in accordance with then-current construction and design
requirements for fishing access sites.

Il. CRITERIA FOR SELECTING RESTORATION PROJECTS?

Prior to use of funds, a.restoration plan would be developed and adopted by the Governor after
adequate public notice and opportunity for hearing and consideration of all public comment. The
DOI regulations, 43 C.ELR. § 11. 82(a), provide that a reasonable number of possible alternatives
for the restoration, rehabilitation, or replacement of the injured natural resources be developed
and considered. The overall goal of the restoration plan is to identify actions that singly or in
combination restore, rehabilitate, replace, or acquire the equival ent of injured natural resources
or lost services such that they can provide the level of services available under baseline
conditions, Restoration in areas where remedial action will be implemented typically follows
implementation of the remedial action and is intended to provide restoration beyond that
provided by the remedial actions. Additional data collection and analysis may be needed to
evaluate the priority of the different restoration actions.

The Natura] Resource Damage Program (NRDP), which acts on behalf of the Governor as _
trustee, typically develops a restoration plan in consultation with the Montana Department of

° The criteria described in this Section HI are intended to provide a synopsis of the State’s process for evaluating and
selecting potential restoration projects. This Section does not, however, fully define that process or otherwise affect
in any way the State or the Governar’s authority and discretion established by law.

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Fish, Wildlife and Parks, local government (e.g., Libby and Lincoln County, the local Water
Quality Protection District), watershed groups and non-profits, other agencies, and the public, A
recent example of this process is outlined in the Eas? Helena Asarco Smelter Final Restoration
Plan and Environmental Assessment Checklist (NRDP 2019), available.at 11.04.2019-East-
Helena-Restoration-Plan-Siened-by-Gov.pdf (dojmt.gov). NRDP would follow a similar process
and gather restoration action ideas from all relevant entities from their planning documents,
meetings, and a public solicitation for project ideas. The criteria outlined below are taken from
the East Helena Asarco Smelter Final Restoration Plan and Environmental Assessment
Checklist.

in developing possible alternatives for the restoration, replacement, rehabilitation, or acquiring
the equivalent of the injured natural resources or services, NRDP anticipates evaluating the
alternatives under the following criteria, which meet the requirements of CERCLA and CECRA,
and the provisions of 43 C.F.R. § 11.82. In addition, NRDP also anticipates evaluating the
additional “policy criteria” outlined at the end of this section. These criteria have been developed
by the State to promote State of Montana goals.

Technical Feasibility: This criterion evaluates the degree to which a restoration action employs
well-known and accepted technologies and the likelihood that the action will achieve its
objectives. Actions that are technologically infeasible will be rejected. However, actions that are
innovative or that have some clement of uncertainty as to their results may be approved.
Different actions will use different methodologies with varying degrees of feasibility.
Accordingly, application of this criterion will focus on an evaluation of an action’s relative
technologicai feasibility.

Relationship of Expected Costs to Expected Benefits: This criterion examines whether the
costs of an action to restore, rehabilitate, replace, and/or acquire equivalent resources are
commensurate with the benefits provided. In doing so, the costs associated with a restoration
action, including costs other than those needed simply to implement the action, and the benefits
that would result from an action, will be determined. Application of this criterion is not a straight
cost-benefit analysis, nor does it establish a cost-benefit ratio that is by definition unacceptable.
Quantifying the benefits of a project will sometimes require collection of additional data or
information and additional analysis.

Cost-effectiveness: This criterion evaluates whether a particular restoration action accomplishes
its goal in the least costly way possible. As outlined in the natural resource damage regulations,
cost-effectiveness means that when two or more activities provide the same or a similar level of
benefits, the least costly activity providing that level of benefits will be selected (43 CPR.

§ 11.14@)). To apply this criterion in a meaningful fashion, all of the benefits a restoration action
would produce must be considered, not just cost; otherwise, the focus would be too narrow. Take
‘the example of a restoration action that would fully restore a given resource in a short period of
time compared to another restoration action that-would restore the same resource at less cost but
over a longer period of time. Considering only that the second action is less expensive than the
first action ignores the benefits resulting from a relatively shorter recovery period. In this

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